Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 1 of 41

Exhibit F
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_ 39.1.4.1; 40.1.1.1; Part 11, Chapter V

Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 2 of 41

FINDINGS & EVIDENCE
GENERAL PLAN/GREATER SALINAS AREA PLAN AMENDMENTS

Before the Board of Supervisors in and for the
County of Monterey, State of California

Resolution No. 05-305

Resolution of the Monterey County Board of
Supervisors to Amend the Monterey County
General Plan Goal No. 30.and Policy Nos.
25.1.1; 30.0.3; and 39.2.1; and the

Greater Salinas Area Plan Land Use Plan
(Figure 13); Policy Nos. 26.1.4.1;

Defining Commercial Land Use Designations
in the Area Plan; and Amend certain
Guidelines in the Rancho San Juan Area of
Development Concentration (ADC)
Development Guidelines and Principies
Adopted pursuant to Policy 26.1.4.1.

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Amendments to the Monterey County General Plan and the Greater Salinas Area Plan
came on for public hearing before the Board of Supervisors on November 7, 2005.
Having considered all the written and documentary evidence, the administrative record,
the staff report, oral testimony, and other evidence presented, the Board of Supervisors
hereby finds and decides as follows:

1. RECITALS

1. Section 65300 et seq. of the California Government Code requires each county to
adopt a comprehensive, long-term General Plan for the physical development of
each county.

2. On September 30, 1982, the Board of Supervisors of the County of Monterey
(“County”) adopted a county-wide General Plan (“General Plan”).

3. On October 14, 1986, the Board of Supervisors adopted the Greater Salinas Area
Plan (“Area Plan”) as an amendment to the General Plan.

4, The Greater Salinas Area Plan “Land Use Plan” (Figure 13) provides a graphic
representation of the general distribution, location, extent and intensity of land
uses and transportation routes in this planning area.

5. Pursuant to Government Code sections 65350 et seq., the County may amend the
adopted General Plan provided the County follows certain procedures, including
that the County Planning Commission hold a noticed public hearing and make a

Page 1 of 14
Board of Supervisors Resolution 000182

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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 3 of 41

written recommendation to the Board of Supervisors on the proposed amendment
of the General Plan.

6. Section 65860(a) of the Government Code requires that zoning be consistent with
the General Plan.

7. Consistent with the General Plan and the Area Plan the County prepared the first
draft of the Specific Plan for the Rancho San Juan Area of Development
Concentration (ADC) on July 21, 2003. An amended draft was prepared and
circulated for public review on March 15, 2004. Subsequently, an “errata” sheet
with additional changes to the Specific Plan was developed and circulated for
review and comments on May 17, 2004.

8. All policies of the General Plan and the Area Plan have been reviewed by the
Planning and Building Inspection Department staff to ensure that the proposed
amendments maintain the compatibility and internal consistency of the General
Plan and the Area Plan. This level of staff review also ensures that the draft
Revised Rancho San Juan Specific Plan is consistent with the General Plan and
Area Plan. Appendix C (Revised, as attached to the November 7, 2005 Board of
Supervisors Staff Report) of the Revised Specific Plan includes a consistency
analysis for the Rancho San Juan Specific Plan as it relates to goals and policies
in the Monterey County General Plan and the Greater Salinas Area Plan.

9, The Final Environmental Impact Report (Final EIR 04-01) (“Final EIR”) prepared
for the Rancho San Juan Specific Plan and HYH Property Projects included and
analyzed the environmental impacts associated with the General Plan and Area
Plan amendments.

10. On November 15, November 16, November 29, December 1 and December 2,
2004, the Monterey County Planning Commission held a duly noticed public
hearing to consider and make recommendations to the Board of Supervisors
regarding certification of the FEIR, the proposed General Plan and Area Plan
amendments, the proposed Rancho San Juan Specific Plan, proposed related
amendments to the County’s zoning and subdivision ordinances, the proposed
Combined Development Permit for HYH Property Project (Butterfly Village), and
a proposed ordinance approving a development agreement. At least 10 days
before the first public hearing date, notices of the hearing before the Planning
Commission were published in both the Monterey County Herald and the Salinas
Californian and were also posted on and near the property and mailed to property
owners within 300 feet of the subject property.

11. On December 2, 2004, the Planning Commission adopted a resolution
recommending that the Board: (1) Not certify the Final EIR and associated
Mitigation Monitoring and/or Reporting Plan; (2) Not approve the proposed
amendments to the Monterey County General Plan and Monterey County Greater
Salinas Area Plan; (3) Not adopt the proposed Rancho San Juan Specific Plan; (4)

Page 2 of 14
Board of Supervisors Resohition 000183

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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 4 of 41

Not approve the proposed amendments to Titles 19 and 21 of the Monterey
County Code; (5) Deny the Combined Development Permit; and (6) Not approve
the proposed Development Agreement between the HYH Corporation and the
County of Monterey.

12. Prior to adopting the General Plan amendments, the Board of Supervisors
certified the Rancho San Juan Final EIR.

13. On December 14, 2004, the Monterey County Board of Supervisors approved the
Rancho San Juan Specific Plan Project and HYH Property Project and certified an
environmental impact report (EIR) for the Projects in accordance with the
California Environmental Quality Act, Public Resources Code section 21000 et
seq. (CEQA). In its resolution adopting the Specific Plan, the Board of
Supervisors recognized the public controversy regarding continuing to have an
Area of Development Concentration (ADC) designated in the Rancho San Juan
area. The Board directed staff to return to the Board within six months with
various recommendations, including consideration of the following: 1) removal
of the ADC from the General Plan; 2) amendment or rescission of the adopted
Specific Plan, as appropriate; and/or 3) amendment of the adopted Specific Plan
boundaries, in an effort to address the Board’s direction, the County prepared a
Revised Specific Plan, which reduced the scope of the Specific Plan to the
boundaries of the HYH property (Butterfly Village, PLN020470). At least 10
days before the first public hearing date, notices of the hearing before the Board
were published in both the Monterey County Herald and the Salinas Californian
and were also posted on and near the property and mailed‘to property owners
within 300 feet of the subject property.

14. On September 20, 2005, the County released the Revised Specific Plan for
Rancho San Juan. The revised Rancho San Juan Specific Plan (GPZ050005)
establishes new land use designations that are intended to replace the existing
land use designations in the Area Plan and establishes zoning classifications
consistent with proposed land use designations in the specific plan area. The
Revised Specific Plan responds to directives contained in the resolution
approved by the County Board of Supervisors on December 14, 2004 adopting
the Rancho San Juan Specific Plan (Resolution No. 04-424), The boundaries of
the Revised Specific Plan would correspond to the 671-acre HYH Property
(Butterfly Village) approved Vesting Tentative Subdivision Map. The land uses
would include 1,147 residential units including single- and multi-family, 45,000
square feet of retail commercial, an 18-hole golf course including 71 guest
villas/timeshares, 11.8 acres of public patks, 141.2 acres of designated
conservation open space, a wastewater treatment plant and police and fire
stations.

15. On October 7, 2005, the County released an EIR Addendum for the Revised
Specific Plan for Rancho San Juan pursuant to the requirements of Section 15164
of the CEQA Guidelines.

Page 3 of 14

Board of Supervisors Resolution 000184

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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 5 of 41

16. On October 19, 2005 the Monterey County Planning Commission held a duly
noticed public hearing to consider and make recommendations to the Board of
Supervisors regarding certification of the EIR Addendum, the proposed General
Plan and Area Plan amendments, the Rancho San Juan Revised Specific Plan and
proposed amendments to the County’s Zoning Ordinance. At least 10 days before
the first public hearing date, notice of the hearing before the Planning
Commission was published in the Salinas Californian and was also posted on and
near the property and mailed to property owners within 300 feet of the subject
property.

17. On October 19, 2005, the Planning Commission recommended that the Board of
Supervisors certify the EIR Addendum, adopt the General Plan Amendments,
zone the HYH property with a Specific Plan district, and adopt the Revised
Specific Plan while rescinding the Specific Plan approved on December 14, 2004.

18. On November 7, 2005 the Monterey County Board of Supervisors held a duly
noticed public hearing to consider certification of the EIR Addendum, the
proposed General Plan and Area Plan amendments, the Rancho San Juan Revised
Specific Plan and proposed amendments to the County’s Zoning Ordinance. At
least 10 days before the first public hearing date, notice of the hearing before the
Board of Supervisors was published in the Salinas Californian and Monterey
Herald and was also posted on and near the property and mailed to property
owners within 300 feet of the subject property. -

19. On October 28, 2005, the County prepared a Revised General Plan Consistency
Analysis (Revised Appendix C of the Revised Specific Plan). The Revised
Appendix C contains an analysis of the Specific Plan’s compatibility with the
1982 General Plan, the Greater Salinas Area Plan, and the Area of Development
Concentration (ADC) by examining its consistency with General Plan goals,
objectives, policies, guidelines, general land uses and programs selected for
relevancy to the RSJ Revised Specific Plan. A copy of the Revised Appendix C is
available at the Planning and Building Inspection Department, 168 W. Alisal St.,
2™ Floor, Salinas, CA 93901. _

I. DECISION

NOW THEREFORE, BE IT RESOLVED that the Board of Supervisors hereby
considers the Revised General Plan Consistency Analysis (Revised Appendix. C of the
Revised Specific Plan). and adopts the following amendments to the Monterey County
General Plan and the Greater Salinas Area Pian:

NOTE: The entire policy for each amendment is included below. Added language is
underlined and language to be deleted is identified with a strikethrough:
A. Amendments to the Monterey County General Plan

Page 4 of 14

Board of Supervisors Resolution 000185

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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 6 of 41

A-1. Goal 30 (General Pian): Agricultural Viability of Farmland

“To protect all viable farmlands designated as prime, of statewide
importance, unique, or of local importance from, conversion to and
encroachment of non-agricultural uses, including the adoption of a Specific
Plan for Rancho San Juan which implements _an_ alternative farmland
preservation strategy.”

A-2, Policy 25.1.1 (General Plan): Economic Agricultural Activities.

“The County shall establish the preservation, enhancement, and expansion
of viable or potentially viable prime farmlands, farmlands of statewide
importance, unique farmlands, and farmlands of local importance as the top
land use priority for guiding further economic development uniess there is a
satisfactory showing that such farmlands are not viable or potentially
viable. The preservation, enhancement, and expansion of viable or
potentially viable prime farmlands, farmlands of statewide importance

unigue farmlands, and farmlands of local importance may be addressed

through the- adoption of a Specific Plan for Rancho San Juan which

implements an_ alternative farmland preservation strategy.”

™ A-3, Policy 30.0.3 (General Plan): Subdivisions and Impacis on
Oe Neighboring Properties

“The County shall allow division of viable farmland designated as prime, of
statewide importance, unique, or of local importance only for exclusive
agricultural purposes, when demonstrated not to be detrimental to the
agricultural viability of adjoining parcels, or_in accordance with the
policies of a Specific Plan for Rancho San. Juan which implements an

alternative farmland preservation strategy.”

A-4. Policy 39.2.1 (General Plan): Road and Highway Transportation

“All new road and interior circulation systems shall be designed,
developed, and maintained according to adopted County standards, or
in accordance with the comprehensive road and circulation standards
contained i in an adopted Specific Plan for Rancho San Juan.”

B. Amendments to the Greater Salinas Area Plan (Area Plan)
B-1. Land Use Plan Map (Area Plan): Figure 13

Amend the Land Use Plan map (Figure 13):to show only the letters

RSJ-SPA (Rancho San Juan - Specific Plan) Area for the Revised
- Rancho San Juan Specific Plan area. Amend the legend on the map to
identify the area as the Revised Rancho San Juan Specific Plan Area

Page 5 of 14 .
Board of Supervisors Resolution 000186

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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 7 of 41

and refer to the Revised Rancho San Juan Specific Plan (Figure 2-1)
for land use details.

B-2. Policy 26.1.4.1 (Area Plan): Boundaries of ADC

“The general approximate 671-acre area generally located north of
Russell Road between Harrison Road, San Juan Grade Road, and the
boundary between Rancho Bolsa Nueva y Moro Cojo and Rancho Bolsa
de Escarpines, and identified on Figure 1-6 shall be designated as an
Area of Development Concentration. Area Plan land uses shown within
the ADC shall only be developed after a specific plan on the entire ADC
has been prepared and adopted. The specific plan shall ineorporate-all-of
be compatible with the Development Guidelines and Principles for the
Rancho San Juan ADC adopted as part of the Greater Salinas Area

: Plan. ”

B-3. Policy 39,1.4.1 (Area Plan): Land Use and Traffic Impacts

“Implementation of all land uses within the Greater Salinas Area Plan shall
occur only if there will be no significant unmitigated impact on traffic

circulation, or_in accordance with a comprehensive traffic mitigation
program contained in an adopted Specific Plan for Rancho San Juan.

B-4. Policy 40.1.1.1 (Area Plan) Scenie Highways

“The Highway 101 bypass shall be designated a scenic highway and
subject to the same scenic standards held in the North County Area
Plan. The design of the Highway 101 bypass shall include a-minimum
of two interchanges within-the AD C-area-as-specified-within-the ADE
SpeeifiePlan if considered necessa CalTrans and TAMC. 0.
interchange shall be located north of Russell Road and west of
Harrison Road. The bypass design shall also incorporate sound
deflection berms with appropriate landscaping and such measures
shall be held consistent with its ‘scenic highway’ designation.”

B-5. Part II, Chapter V (Area Plan) Commercial

“This category applies to areas which are suitable for the development
of retail and service commercial uses, including visitor
accommodation and professional office uses. In general, building
intensity for commercial areas shall conform to standards which limit
building height to a maximum of 35 feet and lot coverage to a
maximum of 50 percent, excluding parking and landscaping
reguirements_or_in accordance with the commercial development

standards contained in an adopted Specific Plan for Rancho San Juan.

Page 6 of 14

Board of Supervisors Resolution 000187
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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 8 of 41

B-6. Rancho San Juan Area of Development Concentration
Guidelines and Principles

NOTE: The Guidelines are included in entirety below. Each guideline to be amended is
identified by italicized font. Added language is underlined and language to be deleted
is identified by a strikethrough:
RANCHO SAN JUAN AREA OF DEVELOPMENT CONCENTRATION
DEVELOPMENT GUIDELINES AND PRINCIPLES*

*NOTE: This body of Development Guidelines and Principles for guiding the
preparation of the Ranche San Juan ADC Specific Plan was adopted
in conjunction with Policy 26.1.4.1 (GS).

GENERAL DEVELOPMENT GUIDELINES

The Salinas North Area of Development Concentration shall be developed as a planned
community with tadustrial, residential, commercial, public, and open space uses.

The ADC Specific Plan shall include phasing of development, transportation
improvements and other traffic mitigation for Highway 101 and adjacent arterial
roadways.

The adopted Highway 101 bypass right of way traverses the ADC area and shall be
addressed within the ADC specific Plan in conjunction with internal and external traffic
circulation improvements.

Any parcel within the ADC which contains any portion of the proposed right-of-way of
the Highway 101 bypass shall have conveyed such right-of-way to the County or

Caltrans before development approval. Bven-ifalitheright-of-way-has-been-conveyed,

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Page 7 of 14 .
Board of Supervisors Resolution 000188

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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 9 of 41

The zolling hill areas of the site should be designated for clustered residential,
commercial, office, and public uses,

The valleys ef-the-relting-hill-areas should generally be used for circulation, flood
control, recreation, and open space uses.

The steep north facing slopes within the site should be reserved for open space and
conservation uses.

' The south and west facing slopes within the site should be used for compactly clustered,

terraced residential uses to take maximum advantage of views and sun exposure.

Neighborhood serving commercial and public uses should be integrated into the |
community to maximize easy access and create community activity centers.

Runoff from the site shall be controlled to alleviate downstream flooding potential.

Wastewater treatment, storage and disposal shall be provided on lands within and
adjacent to the site.

Completed Master Plans for sewer and water systems prepared as part of the ADC
Specific Plan shall first require approval from the Director of Environmental Health
before such Master Plans can be considered a part of the ADC Specific Plan. Such
Master Plans shall specify the method of treatment and disposal and include a 120 day
storage requirement for all treated wastewater.

Services in the ADC shall be provided through the use of a Community Facilities
District (CFD) or other appropriate funding mechanism to finance and carry out the
construction of police, fire, flood and storm protection, parks and any other facilities
which may be found by the Board of Supervisors to be appropriate under Chapter 2.5
of the California Government Code. A Community Services District (CSD) orGounty
servicestrea(CS} shall be used to provide for the operations and maintenance for
those facilities not already provided for under a CFD and/or for those services not
already provided for under existing County Special Districts. These services may
include sewer, water, roads and transportation, street lighting, utility undergrounding,
and any other facilities which may be found by the Board of Supervisors to be
appropriate under Section 61 7000 et Sed. ow the C Cali ‘fornia Government Code. Fhe-CED

Board of Supervisors Resolution

Page 8 of 14 000189
Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 10 of 41

RESIDENTIAL DEVELOPMENT PRINCIPLES

The average gross density of the planned residential areas (including the mixed use
areas} will be at least 5-d-units-per-aere 4.8 units per acre.

High-density residential development should be clustered at a net density of at least 15
units per acre to maximize external landscaped open space areas and internal ©
courtyards and common spaces and leave valley floors open for drainage, circulation,
and recreation.

A mixture of housing types at various densities will be provided on the site according to
site conditions and clustering opportunities,

Residential development shall be attractively designed and landscaped in conformance
with design criteria associated with "planned residential areas.”

The design of housing should incorporate private, semi-private, and public outdoor
areas, '

Clustered housing areas should be planned to encourage a sense of neighborhood
community through provision of common open space, recreation, and public facility
areas,

Page 9 of i4 000180

Board of Supervisors Resolution
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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 11 of 41

Fifteen A minimum of fifteen percent of the total housing units developed shall be
affordable to low and moderate income households and provided within the site and
integrated into the overall development as the project is built out. Deed restrictions
will be used to ensure that affordable units are retained.

COMMERCIAL DEVELOPMENT PRINCIPLES

Neighborhood serving commercial uses should be integrated into the planned residential
area.

Commercial uses should be located to be highly accessible by automobile, bicycle, and
walking.

A mixture of neighborhood serving commercial uses will be located along with
facilities such as street furniture which maximize opportunities for social interaction
and enjoyment of the natural beauty of the site.

Mixed use development of ground floor commercial and upper floor residential should
be provided in selected areas of the site.

Commercial and public uses should be integrated into a community center for the site.

Commercial uses will be developed in conformance to design criteria associated with
planned commercial and residential areas.

PUBLIC FACILITIES DEVELOPMENT PRINCIPLES

Public facilities should be developed in phases as part of a master facilities plan as the

Page 10 of 14

Board of Supervisors Resolution 000191

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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 12 of 41

project area is built out to respond to community needs.

OPEN SPACE, RECREATION, AND CONSERVATION DEVELOPMENT
PRINCIPLES

Community open space areas shall be provided in the planned residential area for
recreation, visual aesthetics, drainage, flood control, conservation, noise buffer, and
circulation uses.

Open spaces areas shall separate and define clustered residential neighborhoods and
other distinct land uses from each other.

Recreation facilities including hiking and equestrian trails, bicycle paths, picnic areas,
playgrounds and an 18-hole golf course shall be provided in open space areas.

Open space areas should be provided within clustered residential areas as internal public
spaces for neighborhood use and enjoyment.

Existing stands of native oak trees shall be retained to the maximum extent possible and
left in open space. Additional stands of oaks and other native vegetation shall be
planted in appropriate open space areas.

Flood control ponds should enhance and restore wildlife habitats and provide recreation
opportunities,

Riparian vegetation should be established or re-established in appropriate areas of the
site,

CIRCULATION DEVELOPMENT PRINCIPLES

Page 11 of 14
Board of Supervisors Resolution

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000192
Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 13 of 41

Collector streets should connect to arterial streets from residential clusters and industrial
development areas.

All residential clusters shall have two routes to enter and exit for emergency situations.

On street parking should generally be discouraged for arterial streets and major
collector streets. Off street parking areas will be provided in industrial, commercial,
and high density residential areas.

Most roadways should be developed in a phased manner as development of the site
proceeds. Arterial roadways will be developed at the outset of the project.

Roadways should be designed to discourage the flow of through traffic that does not
have destinations within the site.

’ Roadways shall be located to minimize the need for grading of slopes and filling of
natural drainage ways.

INFRASTRUCTURE DE VELOPMENT PRINCIPLES

L Wastewater treatment, storage, and disposal shall be provided to serve development of
: ) the site. The capacity of these facilities will be expanded incrementally as part of a
vee master facilities plan as development proceeds.

The wastewater treatment, storage, and disposal facilities and other facilities and
services shall be operated through a newly formed County Sanitation District,
Community Facilities District or Community Services District.

Wastewater shall be treated to a level appropriate for spray irrigation in the open space
areas of the industrial area and noise buffer areas along the freeway.

At the onset of the project, wastewater treatment, storage, and disposal facilities will be

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Water service will be provided from wells located within the site. A public or private
water utility or other appropriate entity shall be formed to supply water and maintain
the facilities. In emergency circumstances, a public or private water utility may supply
water froma mixture of onsite wells and offsite sources.”

FLOOD CONTROL, GRADING, AND DRAINAGE DEVELOPMENT
PRINCIPLES :

Flood control ponds shall be provided for each drainage basin in the site to hold peak

Page 12 of 14

Board of Supervisors Resolution 000193

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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 14 of 41

runoff flows and reduce downstream flooding.

Flood control pends shall be designed to mitigate peak runoff increases resulting from
development of the site.

Open space areas and parking lots should be planned to serve as temporary overflow
areas during heavy rainfall periods.

Grading of the site shall be conducted to follow the topography of the site and maintain
its rolling hill character. Cut and fill grading on steep slopes shall be limited.

Wherever feasible, prominent natural drainage ways should be maintained. These
drainage ways will enhance the open space recreation and trails system of the site,

WATER CONSERVATION DEVELOPMENT PRINCIPLE

Development within the site will use flow reduction devices and other water
conservation fixtures. Residential open space areas should be landscaped with
vegetation that has low irrigation requirements. Industrial landscaping should be
irrigated with reclaimed water except immediately adjacent to outdoor activity areas.

DESIGN REVIEW PRINCIPLES

As the planning for the Rancho San Juan ADC progresses, detailed design criteria will
be developed to guide industrial, commercial, public, and residential development. The
guidelines will provide both a standard for guidance and evaluation while leaving —
flexibility for creative architectural concepts.

A design review committee will be formed by the County to evaluate proposed projects.

Development in the Rancho San Juan ADC shall occur under the guidance of specific
development standards and criteria and shall employ such concepts as natural, or
earth-tone exterior treatments, articulated facades, and landscaping amenities. The

Board of. Supervisors through the Specific Plan and Site Plan approval Oe ee

AREA LAND USE PLAN

Area of Development Concentration

Page 13 of 14

Board of Supervisors Resolution ,
GP & CSAP Amendments 000194
Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 15 of 41

PASSED AND ADOPTED on this 7th day of November 2005, upon motion of Supervisor
Smith , seconded by Supervisor _ Armenta _, by the following vote, to-wit:

AYES: Supervisors Armenta, Calcagno, Lindley, and Smith
NOES: Supervisor Potter
ABSENT: None

I, Lew Bauman, Clerk of the Board of Supervisors of the County of Monterey, State of California, hereby
certify the foregoing is a true copy of the original order of said Board of Supervisors duly made and entered
in the minutes thereof Minute Book 72, on November 7, 2005.

Dated: November 8, 2005 .
Lew Bauman, Clerk of the Board of Supervi

County,of Monterey, and State of California.
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Page 14 of 14 000195

Board of Supervisors Resolution
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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 16 of 41

Exhibit G
Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 17 of 41

FINDINGS & EVIDENCE
REVISED RANCHO SAN JUAN SPECIFIC PLAN

Before the Board of Supervisors in and for the
County of Monterey, State of California

Resolution No, 05-321 }
Resolution of the Monterey County )
Board of Supervisors Rescinding the )
Rancho San Juan Adopted Specific Plan )
and Adopting the Revised Rancho San )
Juan Specific Pian. )

The Rancho San Juan Revised Specific Plan (GPZ050005) came on for public hearing

before the Monterey County Board of Supervisors on November 7, 2005. Having

considered all the written and documentary evidence, the administrative record, the staff

report, oral testimony, and other evidence presented, the Board of Supervisors hereby

finds and decides as follows:

I. RECITALS:

A. The 1982 Monterey County General Pian designated certain unincorporated areas

of the County as “Area of Development Concentration (ADC)” study areas to
determine their suitability for future development. The Greater Salinas Area Pian,
adopted in 1986, established the Rancho San Juan ADC, comprised of
approximately 2,150 acres, including the Property. Policy 26.1.4.1 of the GSAP
provides that the Rancho San Juan ADC shall only be developed after the County
has prepared and adopted a Specific Plan consistent with the policies, goals, and
objectives of the GSAP and General Plan.

The County prepared a draft specific plan for Rancho San Juan (DEV0301), dated
March 15, 2004, including the revisions shown on the Rancho San Juan Specific
Plan Errata Sheet dated May 17, 2004 (hereafter “Rancho San Juan Specific
Plan.”). The proposed Rancho San Juan Specific Plan area consists of 2,581 acres
and is located in northern portion of Monterey County in a region known as the
Greater Salinas Area. The properties are fronting on and easterly of State
Highway 101, north of Russell Road, northeast of San Juan Grade Road, Greater
Salinas Area (113-102-014-000; 113-112-000-000M; 113-120-090-000; 113-121-
000-000M; 113-151-000-000M; 113-161-000-000M; 113-172-025-000; 113-211-
003-000; 113-212-003-000M, 113-261-000-000M; 113-271-000-000M; 113-272-
000-000M). The Specific Plan includes 4,000 mixed residential units throughout
the development; a town center with 374,000 square feet of community and mixed
use tetail space; a 2.4 million square feet employment center with a variety of light
industrial, business and office park space, 243,000 square feet of office space, an 18-
hole golf course and clubhouse; 568.5 acres of enhanced open space with a trail
system, 84.5 acres of public parkland; and installation of infrastructure.

Page 1 of 5 000196

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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 18 of 41

On November 15, November 16, November 29, December 1 and December 2,
2004, the Monterey County Planning Commission held a duly noticed public
hearing to consider the following actions and projects: the proposed Rancho San
Juan Specific Plan (DEV0301); related proposed amendments to the Monterey
County General Plan, Greater Salinas Area Plan, County zoning ordinance (Title
21) and County subdivision ordinance (Title 19); a proposed Combined
Development Permit (PLN020470) consisting of a Vesting Tentative Map and use
permits for an 18-hole golf course, development on 30% slope, a wastewater
plant, and tree removal for the HYH Property Project, commonly known as
Butterfly Village, and a proposed development agreement between the County
and HYH Corporation in connection with the Butterfly Village Project.

On December 2, 2004, the Planning Commission adopted a resolution
recommending that the Board: (1) Not certify the Final EIR and associated
Mitigation Monitoring and/or Reporting Plan; (2) Not approve the proposed
amendments to the Monterey County General Plan and Monterey County Greater
Salinas Area Plan; (3) Not adopt the proposed Rancho San Juan Specific Plan; (4)
Not approve the proposed amendments to Titles 19 and 21 of the Monterey
County Code; (5) Deny the Combined Development Permit; and (6) Not approve
the proposed Development Agreement between the HYH Corporation and the
County of Monterey.

On December 3, December 7 and December 14, 2004, the Monterey County
Board of Supervisors held duly noticed public hearings to consider the following
actions and projects: the proposed Rancho San Juan Specific Plan (DEV0301);
related proposed amendments to the Monterey County General Plan, Greater
Salinas Area Plan, County zoning ordinance (Title 21) and County subdivision
ordinance (Title 19); a proposed Combined Development Permit (PLN020470)
consisting of a Vesting Tentative Map and use permits for an 18-hole golf course,
development on 30% slope, a wastewater plant, and tree removal for the HYH
Property Project, commonly known as Butterfly Village, and a proposed
development agreement between the County and HYH Corporation in connection
with the Butterfly Village Project.

In accordance with the California Environmental Quality Act (CEQA), a Draft
EIR was prepared to assess the potential adverse environmental impacts from the
project and was circulated starting on May 18, 2004. The public review period
ended August 9, 2004. The issues that were analyzed in the Draft EIR include
land use, traffic and circulation, landform alteration/visual quality, biology,
archaeological/historical resources, noise, air quality, soils and geology,
hydrology/water quality, water resources, agriculture and public services and
utilities. Mitigation measures are proposed to mitigate project impacts. A Final
EIR was prepared, consisting of the May 2004 DEIR, a Comments and Responses
Document containing copies of all written and oral comments, a list of
commentators, and all responses to oral and written comments, and proposed

Page 2 of 5 0001977

BOS Resolution
Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 19 of 41

revisions to the Draft EIR in accordance with CEQA. The Final EIR was made
available to the public on November 8, 2004. The Planning Commission
recommended that the Board not certify the FEIR. By separate resolution, the
Board of Supervisors certified the FEIR and adopted the mitigation measures
incorporated therein (see Resolution No. 04-423 and Exhibit A-1 thereto).

G. By separate resolution, the Board of Supervisors approved amendments to the
Monterey County General Plan and Greater Salinas Area Plan (hereafter “the
General Plan Amendments”) to ensure consistency between the Rancho San Juan
Specific Plan and the General Plan and Greater Salinas Area Plan (see Resolution
No. 04-421). By approving these General Plan Amendments, the Rancho San
Juan Specific Plan was determined to be consistent with the General Plan and
GSAP and will implement the overall goals and objectives of those plans for the
Specific Plan area.

H. The Board of Supervisors approved ordinances amending Title 19-Subdivision
Ordinance (Ordinance 04251) and Title 21-County Zoning Ordinance (Ordinance
04252) to create a “Specific Plan” zoning district and ensure that the zoning and
subdivision ordinances are consistent with the Specific Plan.

1 The Board of Supervisors considered errata sheets (dated December 9, 2004,
December 14, 2004 and presented to the Board during the public hearing on
December 14, 2004) that lists recommended changes to the draft Specific Plan
from the time that the draft was released in March 2004.

J. In its resolution adopting the Specific Plan, the Board of Supervisors recognized
the public controversy regarding continuing to have an Area of Development
Concentration (ADC) designated in the Rancho San Juan area. The Board
directed staff to return to the Board within six months with various
recommendations, including consideration of the following: 1) removal of the
ADC from the General Plan; 2) amendment or rescission of the adopted Specific
Plan, as appropriate; and/or 3) amendment of the adopted Specific Plan
boundaries. In an effort to address the Board’s direction, the County prepared a
Revised Specific Plan, which reduced the scope of the Specific Plan to the
boundaries of the HYH property (Butterfly Village, PLNO020470). Atleast 10
days before the first public hearing date, notices of the hearing before the Board
were published in both the Monterey County Herald and the Salinas Californian
and were also posted on and near the property and mailed to property owners
within 300 feet of the subject property.

K, On September 20, 2005, the County released the Revised’ Specific Plan for
Rancho San Juan. The Revised Specific Plan responds to directives contained in
the resolution approved by the Board of Supervisors on December 14, 2004
adopting the Rancho San Juan Specific Plan (Resolution No. 04-424). The
boundaries of the Revised Specific Plan would correspond to the 671-acre HYH
Property (Butterfly Village) approved Vesting Tentative Subdivision Map. The

Page 3 of 5 000138

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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 20 of 41

land uses would include 1,147 residential units including single- and multi-family,
45,000 square feet of retail commercial, an 18-hole golf course including 71 guest
villas/timeshares, 11.8 acres of public parks, 141.2 acres of designated
conservation open space, a wastewater treatment plant and police and fire
stations.

L. On October 7, 2005, the County released an EIR Addendum for the Revised
Specific Plan for Rancho San Juan pursuant to the requirements of Section 15164
of the CEQA Guidelines.

M. On October 19, 2005 the Monterey County Planning Commission held a duly
noticed public hearing and recommended that the Board of Supervisors certify the
EIR Addendum and approve the proposed General Plan and Area Plan
amendments, the Rancho San Juan Revised Specific Plan and proposed
amendments to the County’s Zoning Ordinance. At least 10 days before the first
public hearing date, notice of the hearing before the Planning Commission ‘was
published in the Salinas Californian and was also posted on and near the property
and mailed to property owners within 300 feet of the subject property.

N. A specific plan and appropriate environmental analysis pursuant to CEQA have
been prepared with full public notice as required by CEQA and the Government
Code. On November 7, 2005, the Board of Supervisors held a duly noticed public
hearing to consider the EIR Addendum and Revised Specific Plan for Rancho San
Juan, All interested members of the public had an opportunity to participate fully
in the hearing. By separate resolution, the Planning Commission has
recommended that the Board of Supervisors certify the EIR Addendum.

O. The adoption of the Revised Specific Plan for Rancho San Juan with its revised
ADC boundaries will fulfill the requirement that a specific plan be prepared that
covers the entire ADC as stated in the Compromise and Settlement Agreement
dated October 21, 1994 in Tresch v. County (Monterey County Superior Court
Case No. 94349),

P. On November 7, 2005 the Monterey County Board of Supervisors held a duly
noticed public hearing to consider certification of the EER Addendum, the
proposed Genera! Plan and Area Plan amendments, the Rancho San Juan Revised
Specific Plan and proposed amendments to the County’s Zoning Ordinance. At
least 10 days before the first public hearing date, notice of the hearing before the
Board of Supervisors was published in the Salinas Californian and Monterey
Herald and was also posted on and near the property and mailed to property
owners within 300 feet of the subject property.

Q. The Board of Supervisors considered a revised (as attached to the November 7,
2005 Board of Supervisors staff report) General Plan Consistency Analysis
(Appendix C of the Revised Specific Plan) prepared by staff that shows changes

000199

Page 4 of 5
BOS Resolution
Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 21 of 41

to the General Plan Consistency Analysis (Appendix C) contained in the Revised
Specific Plan released on September 20, 2005.

I. DECISION:

NOW, THEREFORE, BE IT RESOLVED THAT the Monterey County Board
of Supervisors hereby rescinds the Rancho San Juan Adopted Specific Plan and adopts
the Revised Rancho San Juan Specific Plan (GPZ050005), including the revisions shown
in the revised Specific Plan shown in Exhibit A and the mitigation measures shown in
Exhibit B. Furthermore, the Board authorizes staff to prepare a final version of the
Revised Specific Plan that incorporates changes shown in the revised General Plan
Consistency Analysis.

PASSED AND ADOPTED on this 7th day of November 2005, upon motion of Supervisor
Smith _, seconded by Supervisor __Armenta_, by the following vote, to-wit:

AYES: Supervisors Armenta, Calcagno, Lindley, and Smith
NOES: Supervisor Potter
ABSENT: None

y / ) 1, Lew Bauman, Clerk of the Board of Supervisors of the County of Monterey, State of California, hereby
certify the foregoing is a true copy of the original order of said Board of Supervisors duly made and entered
in the minntes thereof Minute Book 72, on November 7, 2005.

Dated: November 18, 2005

Lew Banman, Clerk of the Board of Supervisors,
County of Monterey, and State of California.

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Page 5.of 5
BOS Resolution
Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 22 of 41

Exhibit H
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Case, 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 23 of 41

CHARLES J. McKEE (SBN 152458) Exempt from filin & filing fee
County Counsel so (Gov't Code § 61
EFREN N. IGLESIA (SBN 071309
Senior ty County Counsel .
Monterey a .
Tos Alisal Strect, 3” Floor
Salinas, CA 93901-2680 .
Telephone: & 1) 755-5045
Facsimile: (831) 755-5283 £09 13 ACB

ll ANDREW W. SCHWARTZ (State Bar No. 87699)  USAM.GALDOS ©

CATHERINE C. ENGBERG (State Bar No. 220376) CLERK OF THE SUPERIOR COURT
SHUTE, MIHALY & WEINBERGER LLP “ihicHOLSON”
396 Hayes Street

| San Francisco, CA 94102

Telephone: (ai 3 352-7272
415) 552-5816

| Attorneys for Respondent and Defendant
COUNTY

OF MONTEREY

SUPERIOR COURT OF THE STATE OF CALIFORNIA

. COUNTY OF MONTEREY
| H-Y-H CORPORATION, a Delaware . Case No. M 46616
corporation,
. MEMORANDUM OF POINTS AND
Petitioner and Plaintiff, , AUTHORITIES IN SUPPORT OF
vs. | COUNTY’S MOTION FOR
_ SUDGMENT ON THE PLEADINGS
COUNTY OF MONTEREY, and DOES I
| through XX, INCLUSIVE,
Respondent and Defendant.
Date: April 11, 2006
COUNTY OF MONTEREY, | "Time: 9:00 am.
Cross-compiainant, . 4 Dept: 15
| %* Date Action Filed: November 10, 1999
| LANDWATCH MONTEREY COUNTY,
a nonprofit corporation, RANCHO SAN
JUAN OPPOSITION COALITION, and
ROES [ through XX, INCLUSIVE,
" Cross-defendants.
H-Y-H CORPORATION, a Delaware
corporation,
Real Party in Interest.

MPA IN SUPPORT OF COUNTY'S MOTION FOR JUDGMENT ON THE
PLEADINGS
Case No. M 46616
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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 24 of 41

TABLE OF CONTENTS
INTRODUCTION....... 1
BACKGROUND stems eens 2
L THE JUDGMENT ORDERING THE COUNTY TO ADOPT THE

I. THE COUNTY'S FIRST ATTEMPT TO ADOPT A SPECIFIC PLAN
_ AND FIRST REFERENDUM. sscsscssenmen a snssenenedl
IL THE COUNTY'S SECOND ATTEMPT TO ADOPT A SPECIFIC PLAN
__AND SECOND REFERENDUM. 5
IV. THENECESSITY OF A RULING ON THE EFFECT OF THE BALLOT
MEASURES BEFORE THE ELECTION, 6
V. SERVICE OF CROSS-COMPLAINT ON LANDWATCH AND RSIOC.........7
ARGUMENT ve
L , THEELECORATE’S RIGHT TO INITIATIVE AND REFERENDUM IS
GUARANTEED BY THE CALIFORNIA CONSTITUTION. 7
I. | ONTHE OTHER HAND, THE REFRENDUM AND INITIATIVE
POWER DOES NOT AUTHORIZE VOTERS TO VIOLATE A .
BINDING COURT JUDGMENT ........ 9
TI. DECLARATORY RELIEF SHOULD BE GRANTED TO RESOLVE
THE CONTROVERSY IN THIS CASE. 10
CONCLUSION. etrssseenessnenrseueenestieetnnanstniseneinsestamienentnusanenentinmenetneinnisetse 13

RANCHO SAN JUAN SPECIFIC PLAN

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MPA IN SUPPORT OF COUNTY'S MOTION FOR JUDGMENT ON THE

PLEADINGS

Case No. M 46616
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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06

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TABLE OF AUTHORITIES

Page 25 of 41

Cases
Alameda County Land Use Ass‘n v. City of. Higywed
. (1995) 38 Cal. App.4th 1716 10
Associated Home Builders etc. v. City of. Livermore
(1976) 18 Cal. 582 sasensens 8
Chas. L. Harney v. Contractors’ State License Board
(1952) 39 Cal.2d 561........ . 10
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(2003) 113 Cal.App.4th 465...... 10, 11
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(1995) 9 Cal.4th 763 sane 8,9
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(1972) 28 Cal App.3d 574 8
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(1981) 29-Cal.3d 531 sesnevesaratenessosesrenss snaveasvenneenses . 9
Rossi v. Brown
(1995) 9 Cal 4th 688 pease seseatease 8
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] (1.994) 8 Cal.4th 765 assesses ss 8
{| Statutes
|| California Code of Civil Procedure
§ 438 7
California Code of Civil Procedure
§ 1060 .. LO, 13
| California Code of Civil Procedure
§ 1209 ......eessccsesesssseeereonsnees . 6,9
California Code of Civil Procedure
§ LOB sacesecsecsesvssnscessessenceesescnsneresenone 9
| California Goverament Code
vee 3

§ 65858.

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MPA IN SUPPORT OF COUNTY'S MOTION FOR JUDGMENT ON THE
PLEADINGS
Case No. M 46616
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Case 5:06-cv-02369-JW Document 20-4

Constitutional Provisions
California Constitrtion
Article IL, § 11.....2

Filed 07/10/06 Page 26 of 41

}| Other Authorities

5 Witkin, Calif Procedure,

Pleading § $18 (4th ed. 1997)...

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MPA IN SUPPORT OF COUNTY'S MOTION FOR JUDGMENT ON THE

PLEADINGS
Case No. M 46616
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11

Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 27 of 41

INTRODUCTION
. Respondent and Cross-Complainant County of Monterey (“County”) finds
itself in an unenviable position warranting declaratory relief. The County is subject to
this Court’s February 27, 2001 Judgment ordering the County to “complete . . . the
adoption of [a] Specific Plan, and zoning” for Petitioner and Real Party in Interest

| H-Y-H’s property in the Rancho San Juan Area (the “Property”). In compliance with the

Judgment, the County adopted a Specific Plan for development of the Property in
December 2004; however, Cross-Defendants LandWatch Monterey County
(“LandWatch”) and Rancho San Juan Opposition Coalition (“RSJOC”) sponsored a

\referendum to effectively repeal that Specific Plan (hereinafter “First Referendum”).

‘That referendum passed overwhelmingly in November 2005. In a further attempt to

comply with this Court’s Judgment, in November 2005, the County adopted a
| significantly scaled-down Revised Specific Plan. Yet the voters are poised to adopt
| another referendum (hereinafter “Second Referendum”) to effectively repeal the Revised

Specific Plan — again. The Second Referendum — the adoption of which would
effectively repeal the Revised Specific Plan — will be placed on the June 2006 ballot. If -
the Second Referendum passes, the County will be in violation of the Judgment and
potentially in contempt of court. |

The Cross-Complaint seeks declaratory relief as to whether the Second

Referendum, if adopted, will take precedence over the Court’s Judgment, or,

alternatively, whether the Court’s Judgment is the higher authority and the Second
Referendum must yield to it. The County is neutral as to the legal merits of these

| opposing arguments; however, the Count seeks timely declaratery relief from the

dilemma in which the County has been placed.
There is legal authority on both sides of the issue. On the one hand,

| Landwatch and RSJOC will argue that the Second Referendum prevails over the Court’s

Judgment because the power of referendum is guaranteed by the California Constitution
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MPA IN SUPPORT OF COUNTY'S MOTION FOR JUDGMENT ON THE .
PLEADINGS
Case No. M 46616
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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 28 of 41

and must be “jealously guarded” by the courts. On the other hand, H-Y-H will contend

| that the voters are bound by the Court Jndgment in the same way as the County Board of

Supervisors, and cannot simply reject the Revised Specific Plan without adopting another
by initiative. An actual controversy exists between the parties and must be expeditiously

resolved hy way of this motion for judgment on the pleadings.
BACKGROUND

|. THE JUDGMENT ORDERING THE COUNTY TO ADOPT THE

RANCHO SAN JUAN SPECIFIC PLAN

. This action commenced on November 10, 1999 when H-Y-H filed a
Petition for Writ of Mandate and Complaint for Declaratory Relief, Constitutional

| Violations, Inverse Condemnation and Estoppel based on the County’s alleged failure to
| adopt a specific plan in the Rancho San Juan area to allow development of the Property.

Cross-Complaint { 14. In its complaint, H-Y-H sought to compel the County to
expeditiously prepare, process, and adopt a specific plan and to certify an environmental
impact report (“EIR”) for the Property. Id. H-Y-H also seeks damages allegedly caused
by the County’s delay in processing the specific plan and EIR. id.

_ On July 26, 2000, this Court held izial on the first through fourth causes of
action for writs of mandate, and the fifth, sixth, and thirteenth causes of action for
declaratory relief: Cross-Complaint § 15. Responding to a stipulation of the parties, the
Court bifurcated the seventh through twelfth canses of actions and the damages portion of

| the thirteenth cause of action. Id, (At the last trial setting conference on these bifurcated
|| claims on January 12, 2006, the Court continued the conference to March 30, 2006. Jd)

On February 26, 2001, this Court entered Judgment in favor of H-Y-H on

| seven of its causes of action. Cross-Complaint J 16, Exh. A. The Judgment states:

A peremptory writ of mandate shall issue from the Court
commanding respondent to continue to process the EIR, the

Specific Plan and zoning for the Rancho San Juan Area of

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MPA IN SUPPORT OF COUNTY’S MOTION FOR JUDGMENT ON THE
PLEADINGS

Case No. M 46616

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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 29 of 41

Development Concentration forthwith, consistent with
statutory requirements for public notice, and to diligently
complete the certification of said EIR, the adoption of said
Specific Plan, and zoning for the ADC within a reasonable
time period in accordance with the law. Nothing in this writ
shalt limit or control the discretion legally vested in
respondent, shall compel any particular result, nor prevent

. respondent from specifically finding that the General Plan is
inadequate and/or taking appropriate action under
Government Code Section 65858.

|| (Emphasis added.) Cross-Complaint, Exh. A at 1-2.

On March 1, 2001, this Court issued a Statement of Decision, which sets

| forth its findings regarding the length of time the County delayed processing the specific

plan and EIR for development of the Property. Cross-Complaint q 18, Exh. B, The

|| Statement of Decision concludes that:

The delay here is not “short term.” It has been over 14 years.
Only a very small part of that delay was attributable to
Petitioners. COUNTY’s excuse has generally been lack of
money and/or staff. Although these factors may certainly be
considered, they do not end the inquiry where there is a .
mandatory duty to act. No other plan has been delayed for this
extended period of time: ..- This length of time becomes even
more critical where all development is precluded until the
action is completed, no definite time for completion of the
General Plan update is contemplated, and the projected time
period is in the range of multiple years not months.

3
MPA IN SUPPORT OF COUNTY’S MOTION FOR JUDGMENT ON THE
PLEADINGS
Case No. M 46616

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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 30 of 41
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Cross-Complaint { 18; Request for Judiéial Notice in Support of County’s Motion for

| Judgment on the Pleading (“RJN”), Exh. 1 at 6 (emphasis in original).

To avoid liability for H-Y-H’s damages based on this Court’s finding of

‘unreasonable delay, the County engaged in a mediation with H-Y-H presided over by the
| Honorable Nat A. Agliano, Presiding Justice of the Court of Appeal (ret.). Cross-

Complaint 19, On September 9, 2002, Justice Agliano issued a Report of Mediator to
Presiding Judge. Jd., Exh. C. Attached to the Report is the Stipulation Following Report

| of Mediator to Presiding Judge (“the Stipulation”), which was filed on September 10,
12002. Id., Exh. C.

Under the Stipulation, and to avoid a potentially large damage judgment,
the County agreed to continue to expeditiously process the Rancho San Juan Specific
Plan and EIR and concurrently process for approval a development project on the
Property in accordance with the August 21, 2002 “Conceptual Plan” prepared for the

| Propérty and attached to the Stipulation in reduced form. Cross-Complaint ¢ 20, Exh. C
| (Stipulation) at 2. The County and H-Y-H agreed that the Conceptual Plan meets

H-Y-H’s minimum land use and density requirements for the development of the
Property, and that it would be the preferred alternative of the EIR for the Property. id. —
H-Y-H agreed to refrain from requesting resetting of the trial on the damage claims so
long as the County exercises its good faith efforts to expeditiously process the completion
of the Specific Plan, EIR, and development applications under this Court’s judgment and
the Stipulation. id.

0, THE COUNTY’S FIRST ATTEMPT TO ADOPT A SPECIFIC PLAN AND

FIRST REFERENDUM

To comply with the Court’s Judgment, on December 14, 2004, the County
adopted the Rancho San Juan Specific Plan, General Plan amendments, and zoning and
subdivision ordinance emendments, and certified a programmatic EIR for the Specific

4
MPA IN SUPPORT OF COUNTY’S MOTION FOR JUDGMENT ON THE
‘PLEADINGS
Case No. M 46616

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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 31 of 41

Plan, RIN, Exhs. 2-6. The Specific Plan provided for development of approximately
2,600 acres, including the entire Rancho San Juan ADC. RJN, Exh. 2 at 1.
Following the December 14, 2004 approvals, Cross-Defendants LandWatch

| and RSJOC sponsored the First Referendum to repeal the General Plan amendments

adopted on December 14, 2004. Cross-Complaint J 22. On November 8, 2005, the
voters of Monterey County approved the First Referendum (Measure C) by a vote of
75.65 percent to 24.35 pereent, thus repealing the General Plan amendments for the
adopted Rancho San Juan Specific Plan and effectively repealing the Spectfic Plan. RJN,
Exh. 7 at 5-6.

| THE COUNTY’S SECOND ATTEMPT TO ADOPT A SPECIFIC PLAN

AND SECOND REFERENDUM
In response to the First Referendum and previous Board direction to

|| consider a modified plan, on November 7, 2005, the County adopted the Revised Rancho

San Juan Specific Plan, General Plan amendments, and zoning amendments, and certified
an addendum to the programmatic EIR. RIN, Exhs. 8-11. The Revised Rancho San Juan
Specific Plan is substantially scaled down from the Plan adopted on December 14, 2004.
RIN, Exh. 8 at 3. For example, the Revised Specific Plan provides for development of

| H-Y-H’s Property only, a 671-acre area equal to one-fourth the size of the Plan adopted

on Decetuber 14, 2004. RIN, Exh. 8 at 3; Cross-Complaint $23. The County's adoption
of the Revised Plan complied with the Judgment and the terms of the Stipulation. Cross-
Complaint { 23.

Following the November 7, 2005 approvals, LandWatch and RSJOC

| sponsored the Second Referendum against Board Resolution No. 05-305, which seeks to

effectively repeal the much smaller development approval of the Revised Specific Plan
contained in the General Plan amendments adopted on November 7, 2005. Cross-
Complaint § 24, Exh. D. Resolution No. 05-305 amends the Monterey County General

Plan and was adopted on November 7, 2005 concurrently with the Revised Rancho San
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MPA IN SUPPORT OF COUNTY’S MOTION FOR JUDGMENT ON THE
PLEADINGS
Case No. M 46616
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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 32 of 41

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Juan Specific Plan. RIN, Exhs. 8,9. On January 24, 2006, the County of Monterey
Board of Supervisors certified this Second Referendum for the June 6, 2006 ballot.
Cross-Complaint J 24; RIN, Exh. 12.

. Further complicating matters for the County, on October 19, 2005,
LandWatch submitted its Notice of Intent to Circulate an initiative measure entitled “The

Monterey County Quality of Life, Affordable Housing and Voter Control Initiative”
| (hereinafter referred to as “Initiative”). Cross-Complaint | 24, Exh. E. Like the Second

Referendum, the Initiative would also effectively repeal the Revised Specific Plan.

| Cross-Complaint 424. On February 28, 2006, the County Board of Supervisors voted
against placing the Initiative on the ballot. The County anticipates that LandWatch will

soon initiate a lawsuit challenging the Board’s February 28 action.’

Iv. THE NECESSITY OF A RULING ON THE EFFECT OF THE BALLOT
MEASURES BEFORE THE ELECTION

To comply with the Court’s Judgment, the County must adopt a Specific

Plan for the Rancho San Juan area. See Cross-Complaint, Exh, A. On June 6, 2006 itis
| likely that the County will be in violation of the Judgment due to the passage of the

Second Referendum. Cross-Complaint $f 24, 26. At that time, H-Y-H may immediately
file contempt proceedings against the County. See Code Civ. Proc. §.1209(a)(5). In
addition, the County anticipates that if the Second Referendum passes, H-Y-H will seek a
trial date for the damages trial. Cross-Complaint § 25. The County therefore seeks this
Court’s guidance, prior to the June 6, 2006 election, regarding whether the Second
Referendum, if adopted will take precedence over the Court’s Judgment, or, alternatively,

' This Motion requests that the Court determine whether the Second Referendum
or the Court’s Judgment prevails. If, as a result of litigation, the Initiative is placed on
the ballot, the County 9 ill request at the appropriate time that the Court include
consideration of the Initiative in this Motion as well. ~

6
MPA IN SUPPORT OF COUNTY'S MOTION FOR JUDGMENT ON THE
PLEADINGS
Case No. M 46616

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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 33 of 41

‘whether the Court’s Judgment is the higher authority and the Second Referendum must
| yield to it. Cross-Complaint at 9 (Prayer for Retief). ,

V. SERVICE OF CROSS-COMPLAINT ON LANDWATCH AND RSJOC
On February 17, 2006, this Court granted the County leave to file the

| instant Cross-Complaint for Declaratory Relief. On March 7, 2006, the County served
| the Cross-Complaint on LandWatch, RSJOC. On March 7, 2006, the County served the

Cross-Complaint on Petitioner and Real Party in Interest H-Y-H. The parties stipulated
to a briefing and hearing schedule resulting in the hearing on the motion on April 11,

|2006. Stipulation re Briefing and Hearing Schedule for County’s Motion for Judgment

on the Pleadings; Order filed March 7, 2006. The patties stipulated that the County may
file the instant motion for judgment on the pleadings prior to the time provided under
Code of Civil Procedure section 438(f). See Stipulation.
ARGUMENT

The County prays for a declaration as to whether the Second Referendum,
if passed, will relieve the County of its obligation under this Court’s Judgment to adopt a
Specific Plan, or whether the Judgment takes precedence over the Second Referendum,
such that the Referendum cannot prevail over the Judgment of this Court. Cross-
Complaint at 9 (Prayer for Relief). As set forth below, there is legal authority on both

| sides of the issue.

L THE ELECORATE’S RIGHT TO INITIATIVE AND REFERENDUM is
GUARANTEED BY THE CALIFORNIA CONSTITUTION.

A substantial body of case law supports Cross-Defendants’ position that the
Second Referendum and Initiative would, if passed by the voters on June 6, 2006, have

‘the effect of rescinding the County’s November 7, 2005 adoption of the Revised Rancho

San Juan Specific Plan, despite the Court's Judgment. The local electorate’s right to

initiative and referendum is guaranteed by the California Constitution, article I, section

7
MPA IN SUPPORT OF COUNTY'S MOTION FOR JUDGMENT ON THE
PLEADINGS
Case No. M 46616

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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 34 of 41

111. DeVita v. County of Napa (1995) 9 Cal.4th 763, 775 (general plans may be amended
| by initiative).

The California Supreme Court has often reiterated its longstanding

|| directive that the judiciary must jealously guard and protect this power:

The initiative and referendum are not rights “granted [tc] the

people, but... powers reserved by them. Declaring it the

duty of the courts to jealously guard this right of the people,

the courts have described the initiative and referendum as

articulating one of the most precious rights of our democratic

process. {I]t has long been our judicial policy to apply a

liberal construction to this power wherever it is challenged in

order that the right not be improperly annulled. If doubts can

. reasonably be resolved in favor of the use of this reserve

power, courts will preserve it.’
Rossi v. Brown (1995) 9 Cal.4th 688, 695 (quoting Associated Home Builders etc, v. City
of Livermore (1976) 18 Cal. 582, 591). In addition, courts generally “presume, absent 2
clear showing of the Legislature’s intent to the contrary, that legislative decisions of a
city council or board of supervisors . . . are subject to initiative and referendum.” Voters
for Responsible Retirement v. Board of Supervisors (1994) 8 Cal.4th 765, 777.

Here, the County recognized that the duty to place a duly qualified
referendum on the ballot is ministerial: See Duran vy. Cassidy (1972) 28 Cal. App.3d 574.
The Second Referendum was certified by the Registrar of Voters as having been signed
by the requisite number of voters as required by the Elections Code. RJN, Exh. 12. The

| County therefore ordered the Second Referendum to be placed on the June 6, 2006 ballot.

Ia.
Based on the case authority upholding the power of initiative and

referendum, the Second Referendum, if passed, may relieve the County of its obligation

8
MPA IN SUPPORT OF COUNTY'S MOTION FOR JUDGMENT ON THE
PLEADINGS :
Case No. M 46616

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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 35 of 41

under this Court’s Judgment to adopt a Rancho San Juan Specific Plan. The County
seeks a judicial declaration of whether the initiative and referendum power extends to

these circumstances.

0. ON THE OTHER HAND, THE REFRENDUM AND INITIATIVE POWER
DOFS NOT AUTHORIZE VOTERS TO VIOLATE A BINDING COURT

The County is obligated under this Court’s Judgment to “continue to

|| process the EIR, Specific Plan and zoning for the Rancho San Juan Area of Development

concentration forthwith .. . and to diligently complete . . . the adoption of said Specific

{| Plan, and zoning for the ADC within a reasonable time period in accordance with law.”

Cross-Complaint, Exh. A, at 1-2. Similarly, the 2002 Stipulation commits the County to
“expeditiously process the Specific Plan and EIR for the Rancho San Juan Area of

Development Concentration (“Specific Plan”), and in particular the August 21, 2002

‘Conceptual Plan’ prepared for the HYH property by the consultant for the County,
Project Design Consultants.” Cross-Complaint, Exh. C (Stipulation) at 2.

Under the separation of powers principles embodied in Article HI of the
California Constitution, the County does not have the power to ignore or reconsider the
Court’s Judgment. See Mandel v. Myers (1981) 29 Cal.3d 531, 547. Instead, the County
is bound by that judgment and any violation of the Judgment would be grounds for civil

| contempt proceedings brought by H-Y-H. See Code Civil Proc. §§ 1908 (judgments

conclusive and binding); 1209 (violation of judgment basis for contempt of conrt).
Despite the judicial deference in favor of initiatives and referenda, the
electorate’s power of referendum and initiative “is generally co-extensive with the

| legislative power of the local governing body.” DeVita, 9 Cal.4th 763, 775. Because the

County’s governing body, the Board of Supervisors, is bound by the Court’s Judgment
requiring the adoption of a Rancho San Juan Specific Plan, the electorate is also bound by
the Judgment. Because the voters step into the shoes of the Board of Supervisors,

arguably they cannot rescind the actions necessary to achieve compliance with the

9
MPA IN SUPPORT OF COUNTY’S MOTION FOR JUDGMENT ON THE
PLEADINGS ,
Case No. M 46616

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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 36 of 41

\Judement. Under H-Y-H’s theory, the voters would need to propose a different Rancho
| San Juan Specific Plan by initiative if it were to reject the Revised Plan pursuant to the
| Second Referendums. The voters have not done so. The County seeks a judicial

declaration of whether the Court’s Judgment limits the initiative and referendum power
under these circumstances.

{0 DECLARATORY RELIEF SHOULD BE GRANTED TO RESOLVE THE

CONTROVERSY IN THIS CASE.
Code‘of Civil Procedure section 1060 states, in relevant part:

Any person ... who desires a declaration of his or her rights
or duties with respect to another . . . may, in cases of actual
controversy relating to the legal rights and duties of the
respective parties, bring an original action or cross-complaint
in the superior court for a declaration of his or her rights and
- duties...
The County, a local agency, is considered a “person” for purposes of this section. City of

| Burbank v. Burbank-Glendale-Pasadena Airport Authority (2003) 113 Cal.App.4th 465,
| 480.

An “action for declaratory relief” exists where “the parties are in

|| fundamental disagreement over the construction of particular legislation, or they dispute
| whether a public entity has engaged in conduct or established policies in violation of

applicable law.” Alameda County Land Use Ass'n v. City of Hayward (1995) 38

| Cal. App.4th 1716, 1723 (coalition of groups challenged MOU between Alameda and

Hayward). Even a probable future controversy suffices. Chas. L. Harney v. Contractors’

| State License Board (1952) 39 Cal.2d 561, 564 (actual controversy stated when

contractor challenged validity of regulation requiring licenses for certain work without
having alleged that he bid on or intended to bid on any particular job); 5 Witkin, Calif,
Procedure, Pleading § 818 (4th ed. 1997).

10
MPA IN SUPPORT OF COUNTY'S MOTION FOR JUDGMENT ON THE
PLEADINGS
Case No. M 46616

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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 37 of 41

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Here, an actual controversy exists between the parties as to the effect of the

| Second Referendum set to appear on the June 2006 ballot. The parties are in fundamental

disagreement over whether the Second Referendum can take precedence over this Court’s
Judgment directing the County to adopt a Specific Plan for the Rancho San Juan area.
See Cross-Complaint f¥ 2, 24, Exh. A et 1-2. LandWatch and RSIOC contend that the
passage of the Second Referendum will effectively repeal the Revised Specific Plan,

| nullifying the Conrt’s Judgment. Cross-Complaint ff 2, 24, Exh. A at 1-2. H-Y-H

contends that the referendum and initiative power does not authorize voters to violate a

| binding court judgment. The County faces potential civil contempt proceedings by
|| H-Y-H if the Second Referendum passes in June. Jd. 3,26. Further, H-Y-H has
informed the County that if the Revised Specific Plan is repealed pursuant to the Second

Referendum, it will revive its suit against the County for damages in excess of $200
million, Id. 25.
The fact that the County is neutral as to the outcome of the declaratory

relief action does not undercut the existence of a controversy. A similar situation arose in

City of Burbank v. Burbank-Glendale-Pasadena Airport Authority. In that case, the City
of Burbank brought an action for declaratory relief to ascertain the validity of an initiative

| (Measure A) that restricted development at Burbank-Glendale-Pasadena Airport. 113
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Cal_App.4th at 467-68, The Airport Authority, which opposed the initiative, was named
as a defendant. The initiative proponents argued that there was no actual controversy

| because the City’s and the Authority’s interests were not antagonistic. Jd. at 480-81. The

Court of Appeal rejected the argument, noting that the predicament in which the City
found itself constituted an actual controversy subject to declaratory relief. The Court

| stated:

[TJhe trial court correctly found an actual controversy existed.
If Burbank enforced Measure-A’s provisions by refusing to

issue permits and give its consent to proposed airport projects
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MPA IN SUPPORT OF COUNTY'S MOTION FOR JUDGMENT ON THE

PLEADINGS
Case No. M 46616

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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 38 of 41

until the Airport Authority proved it‘had complied with all the
preconditions in Measure A, the Airport Authority would
have brought suit against Burbank. ... On the other hand, if
Burbank refused to implement Measure A without first
receiving a judicial ruling on the measure’s validity,
proponents of the measure would likely have sued the City of
Burbank had the city not brought its own suit as quickly as it
did:
Id. at 481. The County here finds itself in a virtually identical predicament as the City of

\) Burbank. If the County rescinds the Revised Specific Plan in accordance with the

Second Referenduta, it will be in violation of this Court’s Judgment and will be sued by
H-Y-H for contempt of court and massive damages. On the other hand, if it refuses to

- |] implement the Second Referendum on the grounds that it violates the Coust’s Judgment,

the County will likely be sued by the initiative proponents to enforce the Second
Referendum. Thns, an actual-controversy exists and a declaration by this Court is
necessary.

LandWatch and RSJOC may argue that it is premature to bring this
declaratory relief action because the election has not yet happened and the measures may
not pass. However, given that the First Referendum on the Specific Plan passed by a
margin of 75.65 percent to 24,35 percent, it is likely the Second Referendum will pass, -

|| See Cross-Complaint { 24; RIN, Exh. 7 at 5-6. After passage, the County would be in
| immediate violation of this Court’s Judgment and subject to contempt proceedings by

H-Y-H. Cross-Compiaint ff 3, 26. Further, if this Court finds that the Second .
Referendum cannot override a valid court judgment, then a declaration at this stage could

| save LandWatch and RSJOC significant resources that would otherwise be spent on

12

MPA IN SUPPORT OF COUNTY'S MOTION FOR JUDGMENT ON THE
PLEADINGS
Case No. M 46616
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Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 39 of 41

promoting the measures. Thus, it is important to know now, rather than after the election,
what the effect of the Second Referendum will be on this litigation,’
CONCLUSION

The County of Monterey respectfully nequests that the Court grant
declaratory relicfi ‘in this action.

| Dated: March 7, 2006 SHUTE, MIHALY & WEINBERGER LLP

Attorneys for Jent and Defendant
COUNTY OF MONTEREY

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? Moreover, Code of Civil Procedure section 1060 specifically p rovides that a

| “declaration may be had before there has been any breach of the obligation i in respect to

which said declaration is sought.”
MPA IN SUPPORT OF COUNTY'S MOTION FOR JUDGMENT ON THE
PLEADINGS

Case No. M 46616
Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 40 of 41

Exhibit I
Case 5:06-cv-02369-JW Document 20-4 Filed 07/10/06 Page 41 of 41

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SHUTE, MIHALY & WEINBERGER LLP
ATTORNEYS AT LAV

E. CLEMENT SHUTE, UR. * 396 HAYES STREET MADELINE 0, STONE
MARK |. WEINBERGER (48200) GABRIEL M.S. ROSS

SAN FRANGISCO CALIFORNIA 94102 ,
FRAN M. LAYTON ‘ ° DEBORAH L. KEETH
RACHEL S. HOOPER TELEPHONE: (415) 582-7272 WINTER KING
ELLEN J. GARBER . .
a LARA 8. GALANTER FACSIMILE: (415) 552-5816 eee Ruteres uive
ELLISON FOLK www. SMWLAW. COM 8
RICHARE 3. TAYLOR SHERIDAN J. PAUKER
WILLIAM J, WHITE
ROBEAT S. PERLMUTTER : LAUREL L, IMPETT, AIGP
OSAL. WOLFF CARMEN J. BORG, AICP
JANETTE E. SCHUE URBAN PLANNERS
MATTHEW BD. ZINN
CATHERINE C. ENGBERS DAVID RAW
aMy Je BRICKER Oe ANDREW W. SCHWARTZ
JENNY K. HARB . OF GOUNSEL

April 10, 2006

"SENIOR COUNSEL
By Federal Express
Clerk of the Court
Monterey County Superior Court
1200 Aguajito Road

Monterey, California 93940

Re: H-Y-H Corporation vs. County of Monterey
Monterey County Superior Court No. M46616

Dear Sir/Madam:

The County of Monterey’s Motion for Judgment on the Pleadings in the above-
titled case is currently calendared for April 17, 2006 at 9:00 a.m. in Department 15. Because the
County of Monterey has recently taken the referendum at issue in the case off the June 2006
ballot, the County requests that its motion be taken off the Court’s calendar. All parties have
agreed that the motion should be taken off calendar at this time. If the referendum is restored to
the ballot at a later date, the County will re-notice the hearing at that time.

Very iruly yours,
SHUTE, MIHALY & WEINBERGER LLP

Catherine C. Eng

cc: Department 15, att: Erica (by facsimile)
See attached Proof of Service

[PAMONTEREY\MAT S\RSI2\o0e043 (letter re mjop off ealendar).wpd]
